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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
JESSICA DENSON, individually and on behalf of
all others similarly situated,
                                                                   Case No.: 20-cv-4737 (PGG)
                                   Plaintiff,

                 -against-

DONALD J. TRUMP FOR PRESIDENT, INC.

                                    Defendant.
---------------------------------------------------------------X




                           MEMORANDUM OF LAW IN SUPPORT OF
                            DEFENDANT’S MOTION TO DISMISS




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        Defendant Donald J. Trump for President, Inc. (the “Campaign”) respectfully submits this

memorandum of law in support of its motion, pursuant to Rule 12(b)(1) and (6) of the Federal

Rules of Civil Procedure, to dismiss plaintiff’s putative class action complaint (the “Complaint”)

in its entirety.


                                 PRELIMINARY STATEMENT

        Having commenced a putative class action lawsuit in which she is the sole class

representative, plaintiff fails to set forth in her pleading (or anywhere else) any alleged statements,

opinions, or other forms of speech that the Campaign is purportedly restricting (or threatening to

restrict) her from making. Reduced to its essence, therefore, this lawsuit involves nothing more

than a former employee asking a court whether a standard business confidentiality agreement that

she signed as a condition of her employment may or may not be deemed unenforceable should she

decide to disclose certain information in the future about the Campaign or her time spent working

for it. By definition, any such ruling would be an advisory opinion.

        Here, the only actual dispute that ever existed between the parties relating to her contractual

agreement with the Campaign—which arose more than two years ago—was previously resolved

by the Appellate Division, First Department. The Campaign has not taken (or threatened to take)

any other action against plaintiff for any purported violations of the agreement (speech or

otherwise) beyond those claims that were conclusively resolved by the First Department. Indeed,

plaintiff has been publicly expressing her negative views and opinions regarding the Campaign

and President Trump on social media undeterred for the past two years. For these very reasons,

plaintiff cannot outline even the vaguest contours of a dispute with the Campaign, much less a

sufficiently concrete dispute that would confer her with the standing she is required by law to have

to bring this lawsuit.
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        For these reasons (and the reasons set forth below), plaintiff’s lawsuit should be dismissed

at the pleadings stage in its entirety.


                               THE RELEVANT BACKGROUND

A.      Plaintiff’s Lawsuit for the Exact Same Claims in 2018

        More than two years ago, plaintiff filed a lawsuit in this Court alleging the very same claims

that she presents here, to wit that the agreement she signed as a condition of her employment with

the Campaign was “void and unenforceable” (the “Agreement”). See paragraph 58 of the

Complaint, which is attached as Exhibit A to the Declaration of Patrick McPartland, dated July

30, 2020 (the “McPartland Decl.”). At that time, there was indeed an actual dispute between

plaintiff and the Campaign regarding her compliance with the Agreement, as the Campaign had a

pending arbitration against plaintiff before the American Arbitration Association for alleged

breaches of the Agreement (the “Arbitration”). McPartland Decl., Exh. A, ¶¶ 53, 60.

        On August 30, 2018, Judge Jesse M. Furman of this Court enforced the valid arbitration

provision in the Agreement and ordered plaintiff to arbitrate her claims and defenses that the

Agreement was “void and unenforceable.” McPartland Decl., Exh. A, ¶ 59; Denson v. Trump for

President, Inc., 2018 WL 4568430 (S.D.N.Y. August 30, 2018). Despite Judge Furman’s Order

(and an actual dispute pending between the parties), plaintiff knowingly and intentionally refused

to formally present her assertions regarding the validity and enforceability of the Agreement in the




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Arbitration.1 McPartland Decl., Exh. A, ¶¶ 60, 62. The arbitrator subsequently issued two awards

in favor of the Campaign, the first of which included an express finding that the Agreement was,

in fact, “valid and enforceable” (the “Awards”). McPartland Decl., Exh. A, ¶ 62, Exhs. C–D.

    B.   Plaintiff’s Motions to Vacate the Awards

         Following the issuance of the Awards against her, plaintiff undertook to attack the Awards

in state and federal court on the same exact grounds that she previously asserted before Judge

Furman and now asserts in this lawsuit—i.e. that the Awards must be vacated because the

Agreement was “void and unenforceable.” McPartland Decl., Exh. A, ¶¶ 64–65. Her motions

then—which included both a motion to vacate and a motion to reargue before Judge Arlene P.

Bluth in New York County Supreme Court and also a motion to vacate before Judge Furman—

were rejected in both courts.2 Id. Because Judge Bluth’s denial of plaintiff’s motion to vacate the




1
  As outlined in the Awards, the AAA provided ample notice and opportunity for plaintiff to
participate in the Arbitration. McPartland Decl., Exh. A, ¶ 62, Exhs. C–D. She refused to do so—
both before and after she obtained counsel. On this point, we note that her representation to this
Court that she was not represented by counsel during the pendency of the Arbitration is simply
untrue. ECF Doc. No. 16, p. 2. In actuality, Maury B. Josephson, Esq. unsuccessfully sought to
stay the Arbitration prior to the second arbitral award being issued in favor of the Campaign (a
fact also recited in the arbitrator’s second award). McPartland Decl., Exh. A, ¶ 62, Exh. D, pp. 1–
2 (“[b]y letter to the undersigned dated November 27, 2018, Maury B. Josephson, Esq., on behalf
of [plaintiff], requested a stay of further proceedings in this arbitration…”).
2
  Judge Bluth excoriated plaintiff for refusing to participate in the Arbitration to advance her
arguments regarding the validity and enforceability of the Agreement. See e.g. Denson v. Donald
J. Trump for President, Inc., 2019 WL 1206352, * 6 (Sup. Ct. N.Y. Cty. March 14, 2019)
(“[p]laintiff had an opportunity to make an argument about why the [Agreement] was
unenforceable; instead she chose not to participate in the arbitration and the arbitrator found the
[A]greement enforceable”), rev’d on other grounds, 180 A.D.3d 446, 116 N.Y.S.3d 267 (1st Dept.
2020); Denson, New York County Index No. 101616/2017, NYSCEF Doc. No. 43. As with Judge
Bluth, plaintiff also submitted fully briefed arguments to Judge Furman asserting that the Awards
should be vacated on the grounds that the Agreement is “void and unenforceable.” See Denson,
18-cv-02690, ECF Doc. No. 48. Judge Furman rejected these arguments as moot given the
preclusive effect of Judge Bluth’s recent confirmation of the Awards. See Denson, 2019 WL
3302608 (S.D.N.Y. July 23, 2019).

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Awards was, by operation of law, tantamount to a confirmation of the Awards, the parties’ prior

dispute regarding the Agreement was, for all intents and purposes, concluded on March 14, 2019.

See e.g. White v. Department of Law, 184 A.D.2d 229, 230, 584 N.Y.S.2d 555, 556 (1st Dept. 1992)

(“there was no need for respondents to cross-petition for confirmation of the award since CPLR

7511(e) mandates an automatic confirmation upon denial of a motion to vacate or modify”).

C.     Plaintiff’s Putative Class Action Before the American Arbitration Association

       On February 20, 2019, plaintiff next filed a putative class action complaint in arbitration

before the American Arbitration Association seeking a ruling that the Agreement was “void and

unenforceable.” McPartland Decl., Exh. A, ¶ 70. At that time and like now, the only purported

dispute identified by plaintiff related to the prior claims that the Campaign had asserted against

her in the Arbitration. However, because that prior dispute was resolved by Judge Bluth’s denial

of her motion to vacate, it could not—as a matter of law—have provided plaintiff with grounds

to maintain her claims. As such, on May 29, 2019, the Campaign exercised its contractual right

under the Agreement to decline to arbitrate that claim. McPartland Decl., Exh. A, ¶¶ 75–76.

Plaintiff was thereafter contractually entitled under the Agreement to file a lawsuit in federal or

state court, at which time the Campaign intended to file a pre-answer motion to dismiss for lack

of subject matter jurisdiction. Of note, plaintiff did not proceed with her lawsuit.

D.     The Appellate Division, First Department Conclusively Resolved the Prior Dispute

       Plaintiff next appealed Judge Bluth’s confirmation of the Awards to the Appellate Division,

First Department, where she again raised the very same arguments that she raises in this lawsuit

regarding the validity and enforceability of the Agreement (the “Appeal”). Specifically, plaintiff

asserted that the Agreement’s confidentiality and non-disparagement provisions are “so vague”

and “so broad” that the Agreement itself violates “public policy.” See pages 22–27 of the



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Appellant’s Brief that plaintiff submitted to the First Department, which is attached as Exhibit C

to the McPartland Decl.3 She also asserted that the Agreement is unenforceable because its

confidentiality and non-disparagement provisions are not properly limited in “temporal or

geographic scope.” McPartland Decl., Exh. C, pp. 27–29. She further asserted, without any

factual support, that the Agreement was being “weaponized” by the Campaign to “suppress”

unidentified “political speech” and otherwise infringe on her First Amendment rights in violation

of the United States Constitution and the New York State Constitution.4 McPartland Decl., Exh.

C, pp. 4, 29–30.

       On February 6, 2020, the First Department expressly rejected plaintiff’s assertions that the

Awards should be vacated because the Agreement was “void and unenforceable” in its written

decision on the Appeal. See Denson, 180 A.D.3d at 452, 116 N.Y.S.3d at 274–275. It found that

there was “no legal basis” to conclude that the Agreement is “so broad and over-inclusive” that it

is “void or should be invalidated as against public policy.” Id. It further found that the non-

disparagement provision contained in the Agreement “between private parties…does not

impermissibly intrude on plaintiff’s rights of free expression.” Id.

       Nevertheless, the First Department proceeded to vacate the Awards on other grounds, to

wit because (i) the Awards “improperly punished plaintiff” for the statements she made in



3
  In her Complaint, plaintiff expressly references the Appeal, the First Department’s decision, and
the decision’s purported impact on this lawsuit, so her Appellant’s Brief may properly be
considered here as part of the record. McPartland Decl., Exh. A, ¶¶ 66–67; see also Mangiafico
v. Blumenthal, 471 F.3d 391, 398 (2d Cir. 2006) (“[t]he complaint is deemed to include any written
instrument attached to it as an exhibit or any statements or documents incorporated in it by
reference...[e]ven where a document is not incorporated by reference, the court may nevertheless
consider it where the complaint relies heavily upon its terms and effect, which renders the
document integral to the complaint”) (citation omitted).
4
  Of course, plaintiff could have (and should have) raised all of these claims and defenses regarding
the Agreement in the context of the Arbitration (i.e. as Judge Furman ordered her to do).

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connection with the lawsuit she filed in this Court in 2018 and (ii) the arbitrator “exceeded his

authority” by premising a portion of the Awards on certain statements plaintiff made on the internet

(relief that the Campaign did not specifically request in its Demand for Arbitration). See Denson,

180 A.D.3d at 454–455, 116 N.Y.S.3d at 276–277.

       The Campaign did not appeal this decision. As such, the First Department conclusively

resolved any pending dispute between the parties regarding the Agreement.

E.     There Is No Current Dispute Between the Parties Regarding the Agreement

       On the eve of the 2020 election, plaintiff now brings this lawsuit as the sole class

representative seeking yet again to litigate her claims regarding the validity and enforceability of

the Agreement. McPartland Decl., Exh. A. Of note, in her 29-page Complaint, plaintiff fails to

identify what statements, opinions, or other speech she is purportedly being prevented from

saying, writing, publishing, or otherwise. Id. She also fails to identify any specific conduct or

act on the part of the Campaign (for example, a cease and desist letter) suggesting that she has

been threatened with legal action or consequence under the Agreement. Id.

       Indeed, right up until the making of this motion and in furtherance of its Rule 26 obligations

regarding settlement, the Campaign repeatedly asked plaintiff to identify her current dispute with

the Campaign. In response, she has refused to identify any speech she intends to make (which

she believes would be in violation of her Agreement), much less identify any actual or threatened




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dispute between the parties regarding the Agreement.5

        In fact, plaintiff has continually publicly expressed her negative opinions and views

regarding the Campaign and President Trump on social media over the past two years (both prior

to and following her Appeal), including on her Twitter account (a fact that plaintiff also does not

mention in her Complaint).6 Copies of plaintiff’s tweets are attached as Exhibit B to the

McPartland Decl. Since the conclusion of the Arbitration in 2018, the Campaign has not sent

plaintiff a cease and desist letter or taken any other similar action with respect to any of this speech

(as implicitly acknowledged by the lack of any such allegations contained in plaintiff’s

Complaint). McPartland Decl., Exh. A.

                                            ARGUMENT

                                                   I.

               PLAINTIFF HAS NO STANDING TO BRING THIS LAWSUIT

        It is long established that each plaintiff seeking to act as a class representative in a putative

class action lawsuit must have individual standing to assert the claims set forth in the complaint.

See e.g. Caruso v. Zugibe, 2015 WL 5459862, n. 4 (S.D.N.Y. June 22, 2015) (“if the named

plaintiff lacks standing the entire class action fails”), citing Vaccariello v. XM Satellite Radio, Inc.,

295 F.R.D. 62, 68 (S.D.N.Y. 2013) (“the named plaintiff must allege and show that they personally



5
  One of the principal reasons why the Campaign has repeatedly requested that plaintiff identify
her intended speech is that the Campaign is likely to have no objections to it. ECF Doc. Nos. 14,
pp. 3–4; 15, p. 2. However, as plaintiff made clear in her pre-motion letter to this Court, plaintiff
“does not seek a declaration that any specific statement is not barred by the [Agreement]…[r]ather,
she seeks a declaration that the [Agreement] itself is void and unenforceable.” ECF Doc. No. 16,
p. 3.
6
  Plaintiff’s tweets, which are publicly accessible and integral to the allegations she raises in the
Complaint, may also be considered on this motion. See e.g. Brown v. Showtime Networks, Inc.,
394 F.Supp.3d 418, 436 (S.D.N.Y. 2019) (considering documentary film proffered by defendants
in support of their motion to dismiss because “the film is integral to the Complaint”).

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have been injured, not that injury has been suffered by other, unidentified members of the class to

which they belong and which they purport to represent”) (internal quotations omitted); Krouner v.

The American Heritage Fund, Inc., 1997 WL 452021, * 2 (S.D.N.Y. August 6, 1997) (“[a] court

must assess standing to sue based upon the standing of the named plaintiff and not upon the

standing of unidentified class members”) (internal quotations omitted).

       Here, plaintiff, the sole class representative, lacks standing to bring this lawsuit because

she cannot demonstrate that there is any actionable dispute between the parties sufficient to confer

subject matter jurisdiction on this Court. The sole dispute between the parties relating to the

Agreement was conclusively resolved by the Appellate Division, First Department, and plaintiff

has failed to identify any current or threatened dispute between the parties.

       Moreover, plaintiff is collaterally estopped from relitigating the issue of the validity and

enforceability of the Agreement. By plaintiff’s own assertions, the very premise of this putative

class action lawsuit is that the Agreement is “void and unenforceable” on its face. However,

plaintiff has already presented this identical argument to the First Department, which expressly

rejected it. As such, she is barred from re-litigating this identical issue again here.

A.     There is No Case or Controversy

       To establish standing for a declaratory judgment action, the plaintiff must allege facts

sufficient to show “that there is a substantial controversy…of sufficient immediacy and reality to

warrant the issuance of a declaratory judgment.”7 Fox v. International Conference of Funeral



7
  “The phrase ‘case of actual controversy’ in the [Declaratory Judgment Act] refers to the type of
‘Cases’ and ‘Controversies’ that are justiciable under Article III.” Velvet Underground v. Andy
Warhol Foundation for the Visual Arts, Inc., 890 F.Supp.2d 398, 403 (S.D.N.Y. 2012) (internal
alteration and citations omitted); see also Dow Jones & Co., Inc. v. Harrods, Ltd., 237 F.Supp.2d
394, 406 (S.D.N.Y. 2002), aff’d 346 F.3d 357 (2d Cir. 2003) (the analysis for determining whether
an “actual controversy” exists under the DJA is “coextensive with the analysis applicable to the
‘case or controversy’ standard embodied in Article III of the United States Constitution”).

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Service Examining Boards, 242 F.Supp.3d 272, 291 (S.D.N.Y. 2017) (emphasis added) (citations

omitted). The plaintiff bears the burden of proof on the issue of standing. See e.g. Hernandez v.

Office of Commissioner of Baseball, 2019 WL 5593056, * 2 (S.D.N.Y. October 30, 2019) (“[t]he

burden of proving that a dispute is ripe for adjudication lies with the party asserting the claim at

issue”) (citations omitted).

       The “touchstone” for determining “sufficient immediacy and reality is whether the

declaratory relief sought relates to a dispute where the alleged liability has already accrued or the

threatened risk occurred, or rather whether the feared legal consequence remains a mere

possibility, or even probability of some contingency that may or may not come to pass.” Dow

Jones & Co., Inc., 237 F.Supp.2d at 406–407. In other words, “the dispute must be presented in

the context of a specific live grievance that justifies invoking the protections of the courts to shield

the plaintiff against the defendants’ actual interference with [his or her] legal interests.” Velvet

Underground, 890 F.Supp.2d 398 at 404 (emphasis added) (internal quotations and citations

omitted); see also Olin Corp. v. Consolidated Aluminum Corp., 5 F.3d 10, 17 (2d Cir. 1993) (“[w]e

cannot allow the declaratory judgment procedure to be used as a medium for securing an advisory

opinion in a controversy which has not arisen”) (internal quotations and citation omitted).

       A plaintiff seeking declaratory relief cannot rely on a past injury to wholly satisfy the injury

requirement, but rather must show “a likelihood that he or she will be injured in the future.”

Applegate v. Annucci, 2017 WL 3049555, * 8 (S.D.N.Y. July 18, 2017); see also Ford v. Reynolds,

326 F.Supp.2d 392, 404–405 (E.D.N.Y. 2004) (“[a] plaintiff seeking declaratory relief establishes

standing by (1) identifying a specific injury he or she has suffered and (2) demonstrating a

likelihood that he or she will be similarly injured in the future”) (citation omitted).

       Here, plaintiff’s vague and subjective assertion that the Agreement is “preventing her”



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from exercising her right to speak freely about the Campaign or President Trump is insufficient to

create an actual controversy as a matter of law. See e.g. Hernandez, 2019 WL 5593056 at * 2

(dismissing employee’s claim seeking a declaration that he is permitted under Title VII to “speak

out” regarding the allegations he raised against his employer in his complaint without reprisal

finding that “in the absence of actual speech it is impossible to adjudicate whether the proposed

speech would be protected”); Dow Jones & Co., Inc., 237 F.Supp.2d at 410 (“allegations of a

subjective chill on the exercise of First Amendment freedoms are insufficient to create an actual

controversy absent a concrete claim of specific present objective harm or threat of future harm”)

(emphasis in original) (internal quotations omitted), citing Laird v. Tatum, 408 U.S. 1, 13–14, 92

S.Ct. 2318, 2325–2326 (1972) (plaintiffs failed to present a justiciable controversy by complaining

of a “chilling” effect on the exercise of their First Amendment rights by the mere existence and

operation of the Army’s intelligence-gathering and distribution system because they failed to

identify any “specific action” that the Army had taken against them); Younger v. Harris, 401 U.S.

37, 41–42, 91 S.Ct. 746, 749 (1971) (parties’ allegation that they “felt inhibited” in the exercise of

their First Amendment rights due to the existence of a state law that criminalized the advocacy or

teaching of unlawful acts as a means to accomplish a change in industrial ownership or control or

effect political change was insufficient to invoke the equitable jurisdiction of the federal courts);

see also Sanger v. Reno, 966 F.Supp. 151, 161 (E.D.N.Y. 1997) (plaintiffs, who intended to use

the internet to transmit information about abortions, failed to present a ripe controversy

challenging the Communications Decency Act of 1996 on First Amendment grounds reasoning

that plaintiffs’ “uncertainty about enforcement does not establish a credible basis for fearing

enforcement…[i]f federal courts had jurisdiction to decide disputes wherever uncertainties exist,




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their jurisdiction would be unending”).8

       Moreover, this assertion is belied by plaintiff’s continuous and unobstructed statements,

opinions, and disparaging public comments regarding the Campaign and President Trump over the

course of the past two years. McPartland Decl., Exh. B; see also Bordell v. General Elec. Co.,

922 F.2d 1057, 1061 (2d Cir. 1991) (rejecting former atomic laboratory employee’s assertion that

laboratory’s stated policy prohibiting public comment on classified or sensitive information

constituted a “subjective chill” on the exercise of his First Amendment rights where the evidence

before the court demonstrated the former employer “has, in fact, spoken on matters relating to [the

laboratory] on numerous occasions”).9




8
   The requirement that a party identify the specific speech or conduct at issue is repeatedly
illustrated in the very cases cited by plaintiff in her own pre-motion letter to this Court. ECF Doc.
No. 16, p. 4; see also Susan B. Anthony List v. Driehaus, 573 U.S. 149, 161–162, 134 S.Ct. 2334,
2343–2344 (2014) (advocacy organizations had standing to challenge Ohio statute criminalizing
false statements about candidates during political campaigns finding, among other things, that
“[b]oth petitioners have pleaded specific statements they intend to make in future election cycles”
that were “arguably prescribed by the [statute]”) (emphasis added); Virginia v. American
Booksellers Ass’n, Inc., 484 U.S. 383, 108 S.Ct. 636, 637 (1988) (adult bookstores had standing
to challenge Virginia statute criminalizing the commercial display of certain “sexual or
sadomasochistic material that is harmful to juveniles” because at the parties’ trial “the owners of
the bookstores introduced as exhibits 16 general-subject books they believed to be covered by the
amendment, and testified that the law might apply to as much as one-half of their inventory”)
(emphasis added); Vermont Right to Life Committee, Inc. v. Sorrell, 221 F.3d 376 (2d Cir. 2000)
(nonprofit corporation had standing to challenge Vermont campaign finance statute establishing
disclosure requirements for political advertising and reporting requirements for mass media
expenditures, since corporation faced credible threat of civil litigation based on its activities of
publishing advertisements supporting viewpoints with which certain candidates were associated
and distributing literature and displaying posters at county-fair booths).
9
  Notably, plaintiff—who is attempting to assert constitutional claims against an indisputably
private entity—fails to allege any facts whatsoever suggesting that state action exists. McPartland
Decl., Exh. A, ¶ 11; see also Cockrum v. Donald J. Trump for President, Inc., 365 F.Supp.3d 652,
665 (E.D. Va. 2019) (dismissing First Amendment claims reasoning that “the Campaign is
incapable of state action because it is a private entity”).

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       On this point, plaintiff likewise has not (and cannot) identify any action or threatened action

being taken against her by the Campaign for any alleged speech, which dooms her declaratory

judgment claims as a matter of law. See e.g. Nicholas v. Trump, 433 F.Supp.3d 581, 590 (S.D.N.Y.

2020) (recipients of presidential alert test message lacked standing to challenge the alert system

on constitutional grounds because plaintiffs could not demonstrate a “substantial risk of a future

test”); Ford, 326 F.Supp.2d at 407 (plaintiffs, who often spoke at CUNY campuses and were not

paid for a speech they delivered on one occasion at York College, lacked standing to seek a

declaration “to prevent future violations of their rights to speak and be paid at York College and

other CUNY campuses” because there was “no allegation that they were deprived at any time

thereafter of the right to speak at York College or CUNY, or that they were ever denied honoraria

for their speeches” and “thus failed to show that they have a reasonable expectation of being

subjected to the same injurious action again”).

       The simple fact is that the only dispute that existed between the parties with respect to the

Agreement was conclusively resolved by the First Department. Having failed to obtain a favorable

ruling on the validity and enforceability of the Agreement while that prior dispute was pending,

plaintiff now belatedly seeks a second political bite of the apple by manufacturing vague assertions

about a “dispute” that does not even exist. This is not sufficient to establish standing before this

Court. See e.g. Carr v. Devos, 369 F.Supp.3d 554, 565 (S.D.N.Y. 2019) (student loan borrowers’

claim seeking a declaration that their student loans were unenforceable was not ripe for

adjudication because “the legal threat at issue remains entirely hypothetical”).

B.     Plaintiff is Estopped From Relitigating the Enforceability of the Agreement

       As set forth above, plaintiff’s assertions in this lawsuit that the Agreement is “void and

unenforceable” are the very same assertions that she unsuccessfully raised in the context of the



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parties’ prior dispute, which issue was conclusively resolved by the Appellate Division, First

Department. Indeed, plaintiff is contemporaneously moving this Court for summary judgment on

the assertion that the Agreement is “void and unenforceable” on its face. This issue, however, was

already presented to and resolved by the First Department, which expressly found, among other

things, that there was “no legal basis” to conclude that the Agreement is “so broad and over-

inclusive” that it is “void or should be invalidated as against public policy.” See Denson, 180

A.D.3d at 452, 116 N.Y.S.3d at 274 (emphasis added).

       The determination of this issue by the First Department—which had an actual dispute

before it—precludes plaintiff from relitigating this same issue before this Court.10 See e.g. In re

Indu Craft Inc., 2012 WL 3070387, * 12 (S.D.N.Y. July 27, 2012) (“collateral estoppel…bars the

relitigation of an issue that was raised, litigated, and actually decided by a judgment in a prior

proceeding, regardless of whether the two suits are based on the same cause of action”); Ferring

B.V. v. Serenity Pharmaceuticals, LLC, 391 F.Supp.3d 265 (S.D.N.Y. 2019) (pharmaceutical

company was collaterally estopped from seeking a declaration regarding the validity and

enforceability of two patents because the issue underlying this claim—i.e. who invented the

patents—was “necessarily resolved” against the company in a prior order); Lefkowitz v. McGraw-

Hill Global Educ. Holdings, LLC, 23 F.Supp.3d 344 (S.D.N.Y. 2014) (photographer was

collaterally estopped from asserting that he had standing to advance a breach of contract claim




10
   The First Department also refused to overturn the arbitrator’s finding that the Agreement was
“valid and enforceable.” McPartland Decl., Exh. A, Exh. C, p. 3; see also Id., at 453, at 275 (“[t]he
arbitrator did not exceed his enumerated authority by reaching the gateway issue of the validity of
the [Agreement]…[p]laintiff's only articulated defense to arbitration, asserted both in the federal
action and her letter to the arbitrator, was that the [Agreement] was void and
unenforceable…[t]hus, the issue of the validity of the [Agreement] was properly before the
arbitrator…[t]he arbitrator’s decision on the validity of the [Agreement] did not run afoul of the
rule that a party cannot be forced to arbitrate a dispute it did not agree to submit to arbitration”).

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against licensees under certain licensing agreements because another district court previously

found that the photographer lacked standing to enforce these same agreements).11

                                         CONCLUSION

       Based on the foregoing, defendant respectfully requests that the Court grant the instant

motion in its entirety and grants defendant such other relief as the Court deems just and proper.

Dated: New York, New York
       July 30, 2020

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   As the First Department stated, there is nothing inherently illegal about restrictive covenant
agreements such as the Agreement here, which are frequently used by various businesses and
regularly enforced by courts throughout the country. See e.g. Denson, 180 A.D.3d at 452, 116
N.Y.S.3d at 274 (refusing to find that NDAs “per se violate public policy…[q]uite the contrary,
courts routinely resolve the merits of conflicting claims pertaining to [these] agreements and the
scope of their coverage, without relying on public policy grounds”). Indeed, this only serves to
underscore the need for a party to present an actual controversy with respect to a restrictive
covenant agreement because the court needs to analyze the agreement against a particular set of
facts and circumstances. See e.g. Payment Alliance Intern., Inc. v. Ferreira, 530 F.Supp.2d 477,
484 (S.D.N.Y. 2007) (“[c]ourts assessing the reasonableness of the scope of a restrictive covenant
in an employment contract must consider the specific facts underlying the agreement and the nature
of the employer’s confidential information”) (citation omitted); Poller v. BioScrip, Inc., 974
F.Supp.2d 204, 221 (S.D.N.Y. 2013) (“[w]here courts find restrictions to be unreasonable,
however, they may blue pencil the covenant to restrict the term to a reasonable limitation and grant
partial enforcement for the overly broad restrictive covenant”). For this reason too, plaintiff’s
presentation of this claim as a class action is fundamentally flawed.


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